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EXHIBIT 2
Case 1:15-cv-00934-TSE-JFA Document 13-2 Filed 12/02/15 Page 2 of 3 PagelD# 140
PI-PRD-1 (09/02)

e PHILADELPHIA One Bale Plaza, Suite 100

y Bala Cynwyd, Pennsylvania 19004
nau INSURANCE COMPANIES 610.617.7900 Fax 610.617.7940

A Member of Lhe Tokio Marine Croup PHLY com

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Private Company Protection Plus

DIRECTORS AND OFFICERS & PRIVATE COMPANY LIABILITY
EMPLOYMENT PRACTICES LIABILITY INSURANCE
FIDUCIARY LIABILITY INSURANCE

Philadelphia Indemnity Insurance Company

Policy Number: PHSD860366
DECLARATIONS

NOTICE: EXCEPT TO SUCH EXTENT AS MAY OTHERWISE BE PROVIDED HEREIN, THIS POLICY IS WRITTEN ON
A GLAIMS MADE BASIS AND COVERS ONLY THOSE CLAIMS FIRST MADE DURING THE POLICY PERIOD AND R
REPORTED IN WRITING TO THE INSURER PURSUANT TO THE TERMS HEREIN. THE AMOUNTS INCURRED FO
DEFENSE COST SHALL BE APPLIED AGAINST THE RETENTION.

Item 1. Private Company Name and Address:

The E Team Inc
1001 Durham Ave
South Plainfield, NJ 07080-2300

Internet Address: www.

Item 2. Policy Period: From: 07/01/2013 To: 07/01/2014
(12:01 A.M. local time at the address shown in Item 1.)

Item = 3. Limits of Liability:
(A) Part 1, D&O Liability: $ each Policy Period.
(B) Part 2, Employment Practices: $ 1,000,000 each Policy Period.
(C) Part 3, Fiduciary Liability: $ each Policy Period.
(D) Aggregate, All Parts: $ 1,000,000 each Policy Period.
tem 4. Retention:
(A) Part 1, D&O Liability: $ for each Claim under Insuring Agreement B & C.
Private Offering: $ for each Ciaim under Insuring Agreement B & C.
(B) Part 2, Employment Practices: $ 50,000 for each Claim.
(C) Part 3, Fiduciary Liability: $ for each Claim.
Item 5, Prior and Pending Date: Part 1 No Date Applies Part 2 07/01/2013 Part 3 No Date Applies

Item 6. Premium: Part 1 pat2$ [rans
Total Premium. ¢§

tem = 7 Endorsements: See Form List Attached

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In witness whereof, the Insurer issuing this Policy has caused this Policy to be signed by its authorized officers, but it shall
not be valid unless also signed by the duly authorized representative of the Insurer.

Authorized Representative Countersignature Countersignature Date

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